      Case 18-22227-GLT                        Doc 113         Filed 07/26/23 Entered 07/26/23 15:30:13                        Desc Main
     Fill in this information to identify the case:           Document Page 1 of 4
     Debtor 1              ROBERT P. SELLATI, JR.


     Debtor 2              ROBIN S. SELLATI
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Western District of Pennsylvania
                                                                                    (State)
     Case Number:          18-22227GLT




Form 4100N
Notice of Final Cure Payment                                                                                                          10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                  IBMSECU                                                                         NC

 Last 4 digits of any number you use to identify the debtor's account                         3   6   0   0

 Property Address:                             3121 BETHEL CHURCH RD
                                               BETHEL PARK PA 15102




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                           Amount

 a. Allowed prepetition arrearage:                                                                                   (a)   $           0.00

     b. Prepetition arrearage paid by the trustee :                                                                  (b)   $           0.00

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):              (c)   $           0.00

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)               (d)   $           0.00
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                              (e)   $           0.00

 f.       Postpetition arrearage paid by the trustee :                                                             + (f)   $           0.00

     g. Total. Add lines b, d, and f.                                                                                (g)   $           0.00



 Part 3:             Postpetition Mortgage Payment

 Check one

         Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                  $        $430.72
         The next postpetition payment is due on                 7 / 1 / 2023
                                                                MM / DD / YYYY

 ! Mortgage is paid directly by the debtor(s).


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Debtor 1     ROBERT P. SELLATI, JR.                                           Case number (if known) 18-22227GLT
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              "/s/ Ronda J. Winnecour
                    Signature
                                                                                 Date     07/26/2023


 Trustee            Ronda J. Winnecour

 Address            CHAPTER 13 TRUSTEE WD PA
                    600 GRANT STREET
                    SUITE 3250 US STEEL TWR
                    PITTSBURGH, PA 15219

 Contact phone      (412) 471-5566                                Email   cmecf@chapter13trusteewdpa.com




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Debtor 1     ROBERT P. SELLATI, JR.                                         Case number (if known) 18-22227GLT
             Name




                                                  Disbursement History

Date         Check #     Name                                     Posting Type                                         Amount
MORTGAGE REGULAR PAYMENT (Part 3)
03/25/2019   1112371     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                       4,559.14
04/26/2019   1115651     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         609.50
05/24/2019   1119055     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         430.72
06/25/2019   1122440     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         430.72
07/29/2019   1125871     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         430.72
08/27/2019   1129370     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         430.72
09/24/2019   1132720     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         430.72
10/24/2019   1135990     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         430.72
11/25/2019   1139453     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         430.72
12/23/2019   1142881     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         430.72
01/28/2020   1146309     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         430.72
02/25/2020   1149805     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         430.72
03/23/2020   1153329     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         430.72
04/27/2020   1156779     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         430.72
05/26/2020   1160169     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         430.72
06/26/2020   1163570     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         430.72
07/29/2020   1166700     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         430.72
08/25/2020   1169775     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         430.72
09/28/2020   1172861     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         430.72
10/26/2020   1175957     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         430.72
11/24/2020   1179046     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         430.72
12/21/2020   1181999     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         430.72
01/25/2021   1184965     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         430.72
02/22/2021   1188079     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         430.72
03/26/2021   1191350     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         430.72
04/26/2021   1194622     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         430.72
05/25/2021   1197754     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         430.72
06/25/2021   1200934     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         430.72
07/26/2021   1204140     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         430.72
08/26/2021   1207258     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         430.72
09/24/2021   1210380     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         430.72
10/25/2021   1213462     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         355.71
11/22/2021   1216489     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         505.73
12/23/2021   1219552     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         430.72
01/26/2022   1222627     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         430.72
02/23/2022   1225527     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         284.95
03/25/2022   1228472     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         576.49
04/26/2022   1231504     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         430.72
05/25/2022   1234534     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         430.72
06/27/2022   1237556     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         430.72
07/26/2022   1240511     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         430.72
08/24/2022   1243412     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         430.72
09/27/2022   1246273     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         430.72
10/25/2022   1249108     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         430.72
11/23/2022   1251885     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         430.72
12/22/2022   1254658     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                          79.53
01/26/2023   1257390     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         781.91
02/23/2023   1260024     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                          83.72
03/28/2023   1262784     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         777.72
04/25/2023   1265606     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         430.72
05/25/2023   1268447     IBMSECU                                  AMOUNTS DISBURSED TO CREDITOR                         430.72
                                                                                                                     26,273.92




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                                          CERTIFICATE OF
                                          Document       SERVICE
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I hereby certify that on the date shown below, I served a true and correct copy of Notice of Final Cure Payment
upon the following, by regular United States mail, postage prepaid, addressed as follows:

ROBERT P. SELLATI, JR.
ROBIN S. SELLATI
3121 BETHEL CHURCH RD
BETHEL PARK, PA 15102

SHAWN N WRIGHT ESQ
LAW OFFICE OF SHAWN N WRIGHT
7240 MCKNIGHT RD
PITTSBURGH, PA 15237

IBMSECU
PO BOX 5090
BOCA RATON, FL 33431




7/26/23                                                        /s/ Roberta Saunier
                                                               Administrative Assistant
                                                               Office of the Chapter 13 Trustee




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